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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                  MEMORANDUM



Honorable Lawrence J. O’Neill              RE: ARMANDO TREYES ANDRADE
United States District Judge                   Docket Number: 1:11CR00274-009
Fresno, California                             PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:


Armando Treyes Andrade is requesting permission to travel to Manzanillo, Mexico. Armando
Treyes Andrade is current with all supervision obligations, and the probation officer
recommends approval be granted.


Conviction and Sentencing Date:        On August 6, 2012, Armando Treyes Andrade was
sentenced for the offense of 18 USC 371, Conspiracy to Unlawfully Produce and Transfer
Identification Documents.


Sentence Imposed: 36 months probation, $100 Special Assessment.


Dates and Mode of Travel: January 17, 2014 – February 16, 2014, via Volaris Airlines.


Purpose: Visit his sick mother.




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                                                                                    REV. 05/2013
                                                     TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 1:11-cr-00274-LJO Document 282 Filed 12/19/13 Page 2 of 2
RE:      ARMANDO TREYES ANDRADE
         Docket Number: 1:11CR00274-009
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                      /s/ Tim D. Mechem

                                    TIM D. MECHEM
                           Senior United States Probation Officer

Dated:    December 18, 2013
          Fresno, California
          TDM:JH

                           /s/ Hubert J. Alvarez
 REVIEWED BY:              HUBERT J. ALVAREZ
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐      Disapproved

IT IS SO ORDERED.

   Dated:     December 19, 2013                      /s/ Lawrence J. O’Neill
                                                  UNITED STATES DISTRICT JUDGE




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                                                                                     REV. 09/2013
                                                      TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
